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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                  FILED
                                                              for the
                                                                                                                      Apr 05 2021
                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                                SUSANY. SOONG
                                                                                                             CLERK, U.S. DISTRICT COURT
                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                       )                                                 SAN FRANCISCO
                             v.                                  )
                       MIN JIN ZHAO,                            )      Case No.3:21-mj-70571 MAG
                       a/k/a Michael Zhao                       )
                       a/k/a Michael West                       )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               February 12, 2021              in the county of             San Mateo                      in the
     Northern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 1343                             Wire Fraud


                                             Maximum Penalties:
                                             20 years’ imprisonment; $250,000 fine; 3 years of supervised release;
                                             $100 special assessment; restitution; forfeiture



         This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Alexandra Bryant




         ✔ Continued on the attached sheet.
         ’
                                                                                                    /s/

                                                                                            Complainant’s signature
         Approved as to form _______________
                                                                                  Alexandra Bryant, FBI Special Agent
                                   Mohit Gourisaria
                            AUSA __________
                                                                                             Printed name and title

Sworn to before me by telephone.

                  April 5, 2021
Date:
                                                                                               Judge’s signature

City and state:                  San Francisco, California                  Hon. Jacqueline Scott Corley, Magistrate Judge
                                                                                             Printed name and title
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     AFFIDAVIT OF SPECIAL AGENT ALEXANDRA BRYANT IN SUPPORT OF
                        CRIMINAL COMPLAINT

         I, Alexandra Bryant, a Special Agent of the Federal Bureau of Investigation, being duly

sworn, hereby declare as follows:

                         OVERVIEW AND AGENT BACKGROUND

         1.     I make this affidavit in support of a one count Criminal Complaint against MIN

JIN ZHAO, aka Michael Zhao and Michael West (hereinafter ZHAO). For the reasons set forth

below, there is probable cause to believe ZHAO has committed Wire Fraud for providing false

information regarding a movie production investment from at least February 2021 to March

2021, in order to secure a $300,000 investment from an individual in California, in violation of

18 U.S.C. § 1343.

         2.     The statements contained in this affidavit come from my personal observations,

my training and experience, information from records and databases, and information obtained

from other agents and witnesses. This affidavit summarizes such information in order to show

that there is probable cause to believe that ZHAO has committed wire fraud. This affidavit does

not purport to set forth all of my knowledge about this matter, or to name all of the persons who

participated in these crimes.

         3.     I am a Special Agent of the Federal Bureau of Investigation (“FBI”) and have

been so employed for approximately four years. I am currently assigned to a Complex Financial

Crime Squad of FBI’s San Francisco Field Division. As part of my assigned duties, I investigate

possible violations of federal criminal law, specifically investigations involving white collar

crime.

                                      APPLICABLE LAW

         4.     Title 18, U.S.C. § 1343 prohibits wire fraud. The essential elements of this

offense are: 1) the defendant knowingly participated in, devised or intended to devise a scheme

or plan to defraud, or a scheme or plan for obtaining money or property by means of false or
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fraudulent pretenses, representations, or promises; 2) the statements made or facts omitted as part

of the scheme were material, that is they had a natural tendency to influence, or were capable of

influencing, a person to part with money or property; 3) the defendant acted with the intent to

defraud, that is, the intent to deceive or cheat; and 4) the defendant used, or caused to be used, a

wire communication to carry out, or attempt to carry out an essential part of the scheme. See

Ninth Circuit Instruction 8.124.

                         FACTS SUPPORTING PROBABLE CAUSE

ZHAO PRIOR INDICTMENT

       5.      On May 9, 2019, a federal grand jury in this district returned an indictment

charging Min Jin ZHAO (“ZHAO”) with three counts of wire fraud in violation of Title 18,

United States Code, Section 1343; two counts of mail fraud in violation of Title 18, United States

Code, Section 1341; and one count of money laundering in violation of Title 18, United States

Code, Section 1957. The May 9, 2019 indictment, associated with criminal case number 19-

0222-JD, involved a scheme by ZHAO, a real estate agent, to defraud his clients out of down

payments meant for the purchase of homes in the Northern District of California. It is alleged in

the indictment that ZHAO misrepresented to prospective home buyers that his company,

Portfolio Consulting, offered a loan program that would enable prospective home buyers to

procure financing to make all-cash offers on real property. ZHAO told his victims that as part of

the loan program, they had to wire or deposit approximately ten to twenty percent of the sale

price from the property they sought to purchase to Portfolio Consulting. After victims sent the

funds, ZHAO spent the funds on personal purchases or transferred funds to another bank

account. ZHAO did not use the funds to help the victims purchase property.

       6.       In that criminal case, ZHAO claimed that he was incompetent to stand trial due to

his depression, and the Court has set a competency hearing status for April 14, 2021.


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       7.      One of the conditions of defendant’s pretrial release in that case is that he “shall

not commit any federal, state, or local crime.” See Dkt 5.

EVIDENCE INDICATES THAT ZHAO HAS ENGAGED IN A NEW FRAUD SCHEME

       8.      Evidence indicates that ZHAO continues, while on release, to engage in a

different fraud scheme in which he claims to be a movie executive that works with companies

like Sony and Disney, pitches an investment in an upcoming movie to prospective investors, and

then appropriates the investment funds.

       9.      In March 2021, D.R., an individual residing in Hillsborough, CA, reached out to

the FBI San Francisco office regarding an investment his girlfriend, X.W., had recently made

with ZHAO.1 X.W. currently resides in Daly City, CA, in the Northern District of California.

       10.     The FBI interviewed X.W. and learnt that she had met ZHAO at the Marin Music

Festival in approximately 2018. ZHAO told X.W. that he was the controller of the international

department at Sony. In 2021, ZHAO reached out to X.W. to let her know about an investment

opportunity. ZHAO told X.W. that if she invested $500,000 with Big Block Consulting, Inc

(“BBC”), ZHAO’s alleged investment vehicle, she would be an executive producer on BBC’s

movie projects and receive two percent of BBC’s earnings. ZHAO also offered X.W. a job in the

movie production business.

       11.     On February 8, 2021, an individual purporting to be “Jean Johnson” from BBC

emailed X.W. a movie investment contract for her to review. X.W. did not speak English well, so

ZHAO also provided a Mandarin translation of the contract. X.W. provided a copy of the English

version of the contract to the FBI. The contract was a “Film Financing Agreement” between

BBC and X.W. The agreement stated in part that “BBC has been established to produce, own

1
 D.R. was charged and pleaded guilty in this district in September 2013 to two counts of Bid
Rigging (Title 15, United States Code, Section 1) and to two counts of Conspiracy to Commit
Mail Fraud (Title 18, United States Code, Section 1349).
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and exploit Motion Pictures in 2021 based on the scripts written by award winning script writers

(the “Project”), and the Investors desire to invest in and share in the profits of the Projects.”

       12.     The contract also stated that X.W. “hereby agrees to loan the amount of Five

Hundreds Thousands ($500,000.00) (the “Loan”). Upon receipt of such funds, BBC promises to

pay [X.W.] the principal amount of such Loan, with interest on such amount until paid, at the

rate set forth below and payable pursuant to terms and conditions contained herein”. The interest

rate stated in the agreement was six percent per annum.

       13.     After talking to ZHAO multiple times, X.W. ultimately entered into the

agreement. X.W. did not have $500,000 so she asked her sister to wire $300,000 to X.W.’s

Citibank account ending 9799. On February 12, 2021, X.W. wired $300,000 from her Citibank

account ending 9799 to an account at Bank of America ending in 0293, held in the name Big

Block Consulting, Inc. X.W. had received the wiring instructions from Big Block Consulting and

subsequently received an email from “Jean Johnson” on February 12, 2021 confirming the wire

transfer. X.W. provided the FBI her Citibank statement for February 2021 for account ending

9799. On February 12, 2021 there is an outgoing domestic wire transfer for $300,000 to the BBC

account at Bank of America. Based on my training and experience, I believe this domestic wire

transfer represents an interstate wire because it was made between two separate banks that

typically use interstate wire processing systems, e.g., Fedwire, to clear such transactions.

       14.     In approximately March 2021, D.R. traveled with X.W. to meet ZHAO at the

Waldorf Astoria in Los Angeles. ZHAO attended a dinner with X.W., D.R., and others. ZHAO

told D.R. that ZHAO’s investors made great returns, that his investors typically roll over their

investment to the next movie, and that his investors made anywhere from a 20-26% return on

their investments. D.R., X.W., and the group became suspicious of ZHAO after discussing the

investment opportunity with ZHAO, and when ZHAO claimed he did not have his driver’s

license after the group requested everyone display their driver’s licenses for security purposes at
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an exclusive party following the dinner. D.R. learned about X.W.’s investment after this Los

Angeles trip and became concerned that ZHAO was a “conman.” ZHAO was willing to speak

and meet with D.R. after the dinner because ZHAO was still expecting X.W. to send the

additional $200,000 of her $500,000 investment.

       15.     D.R. and X.W. provided photos to the FBI from the dinner with ZHAO in Los

Angeles. Based on a review of the photos I believe the ZHAO that is pictured in these photos is

the same ZHAO that was previously indicted.




       March 2021 – ZHAO (left) with X.W. (right) at the Waldorf Astoria in Los Angeles




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                               Photo of ZHAO from DMV Records

       16.     On March 19, 2021 the FBI consensually recorded a call between ZHAO, X.W.,

and D.R. X.W. called ZHAO at phone number ending in 3101, which is the same cell phone

number ZHAO used with the victims in his real-estate scheme for which he was previously

indicted. It is also the same cell phone number identified for ZHAO in his pretrial release form in

the pending 19-222 criminal matter against him. Database records also indicate this is an active

AT&T wireless number registered to an individual named MIN ZHAO. During the call, D.R.
asked ZHAO for details about the movie investment, specifically about investing in the next

Spiderman film. ZHAO claimed that Sony owned 55 percent of the next Spiderman film, and if

D.R. was really interested in this specific film, then ZHAO would work on trying to cut D.R. into

the film’s production. ZHAO offered at the end of the call to send a contract to D.R.

       17.     Though ZHAO utilizes a Mandarin translator for his court appearances in the 19-

222 criminal matter, ZHAO spoke clear and fluent English with D.R. on the recorded call.




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       18.     Based on my training and experience, I do not believe that ZHAO is a movie

executive. Based on public source records, the next Spiderman film is being produced by Pascal

Pictures, Marvel Studios, and Columbia Pictures; ZHAO has never been affiliated with any of

these entities. ZHAO also did not disclose that he was federally indicted for fraud to X.W. and

D.R. Finally, ZHAO executed and attempted to execute this scheme using telecommunications

and wires. Accordingly, there is probable cause to believe that ZHAO, having devised or

intending to devise a scheme or artifice to defraud, or to obtain money by false or fraudulent

pretenses, representations, or promises, caused communications to be transmitted by means of

wire, radio, and/or television communication in interstate commerce for purposes of executing

the scheme or artifice.

       19.     On March 30, 2021, a search and seizure warrant for all funds, up to $300,000,

held in the Bank of America ending in 0293 for Big Block Consulting, Inc was issued in the

Northern District of California.

                                          CONCLUSION

       20.     Based on the foregoing, it is my opinion that there is probable cause to believe

that Min Jin ZHAO committed Wire Fraud in violation of 18 U.S.C. § 1343. Accordingly, I

respectfully request that a warrant for the arrest of ZHAO be issued.

                                   REQUEST FOR SEALING
       21.     I respectfully request that the Court issue an order sealing, until further order of

the Court, the Criminal Complaint and all papers submitted in support of this Criminal

Complaint, including this affidavit. I believe that sealing is necessary in order to effectuate the

orderly arrest of ZHAO and in order to guard against flight and destruction of evidence.




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I declare under penalty of perjury that the above is true and correct to the best of my knowledge.


                                                           /s/
                                             ______________________________
                                             ALEXANDRA E. BRYANT
                                             Special Agent
                                             Federal Bureau of Investigation




Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P 4.1 and 4(d)
        5th day of April 2021.
on this ____


_____________________________________
HON. JACQUELINE SCOTT CORLEY
United States Magistrate Judge




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